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                     AGREEMENT OF LIMITED PARTNERSHIP
                                    OF
                 HIGHLAND RESTORATION CAPITAL PARTNERS, L.P.


         THIS AGREEMENT OF LIMITED PARTNERSHIP (this “Agreement”) is dated
 effective as of April 18, 2008 between Highland Restoration Capital Partners GP, LLC, a
 Delaware limited liability company (in its capacity as general partner of the Partnership, the
 “General Partner”), and the limited partners listed in Schedule 1 attached hereto (in their
 capacities as limited partners of the Partnership, the “Limited Partners”) (the General Partner and
 the Limited Partners being herein collectively called the “Partners”). Capitalized terms not
 otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).



                                            ARTICLE I

                                    GENERAL PROVISIONS

        Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
 “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
 Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
 Partners, L.P.” or such other name or names as the General Partner may from time to time
 designate. The General Partner will notify Limited Partners in writing of any change to the name
 of the Partnership.

         Section 1.3 Purpose. Subject to the express limitations set forth herein, the Partnership
 is organized for the object and purpose of (i) investing in senior secured bank loans, debt
 obligations, trade claims and equity securities of middle market Distressed Companies primarily
 based in the United States generally consistent with the investment strategy described in the
 Partnership’s Confidential Private Placement Memorandum, including, without limitation,
 privately placed or publicly traded debt securities and other debt obligations, senior and
 subordinated debt obligations, secured and unsecured debt obligations, privately placed or
 publicly traded equity securities including common stock, preferred stock and warrants, and (ii)
 managing and monitoring such investments and engaging in such activities incidental or
 ancillary thereto and otherwise permitted by the Delaware Partnership Act as the General Partner
 deems necessary or advisable.

         Section 1.4 Place of Business. The Partnership will maintain offices and places of
 business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
 places in the United States as the General Partner may from time to time designate; provided,
 however, that if the General Partner designates different places of business, it shall promptly
 notify the Limited Partners in writing.




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                          AMENDED AND RESTATED
                    AGREEMENT OF LIMITED PARTNERSHIP
                                   OF
             HIGHLAND RESTORATION CAPITAL PARTNERS MASTER, L.P.


          THIS AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
  (this “Agreement”) is dated effective as of April 18, 2008 between Highland Restoration Capital
  Partners GP, LLC, a Delaware limited liability company (in its capacity as general partner of the
  Partnership, the “General Partner”), and the limited partners listed in Schedule 1 attached hereto
  (in their capacities as limited partners of the Partnership, the “Limited Partners”) (the General
  Partner and the Limited Partners being herein collectively called the “Partners”). Capitalized
  terms not otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).

         The General Partner and certain of the Limited Partners entered into an Agreement of
  Limited Partnership, dated as of November 15, 2007 (the “Original Agreement”). The parties
  hereto wish to amend and restate the Original Agreement in the manner set forth herein.



                                            ARTICLE I

                                    GENERAL PROVISIONS

         Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
  “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
  Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
  Partners Master, L.P.” or such other name or names as the General Partner may from time to
  time designate. The General Partner will notify Limited Partners in writing of any change to the
  name of the Partnership.

          Section 1.3 Purpose. Subject to the express limitations set forth herein and in the
  Offshore Fund Agreement, the Partnership is organized for the object and purpose of (i)
  investing in senior secured bank loans, debt obligations, trade claims and equity securities of
  middle market Distressed Companies primarily based in the United States generally consistent
  with the investment strategy described in the Partnership’s Confidential Private Placement
  Memorandum, including, without limitation, privately placed or publicly traded debt securities
  and other debt obligations, senior and subordinated debt obligations, secured and unsecured debt
  obligations, privately placed or publicly traded equity securities including common stock,
  preferred stock and warrants, (ii) managing and monitoring such investments and (iii) engaging
  in such activities incidental or ancillary thereto and otherwise permitted by the Delaware
  Partnership Act as the General Partner deems necessary or advisable.

          Section 1.4 Place of Business. The Partnership will maintain offices and places of
  business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
  places in the United States as the General Partner may from time to time designate; provided,
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                                                                              Appx. 04103
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                                                                              Appx. 04104
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                                                                              Appx. 04106
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                                                                              Appx. 04107
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                                                                              Appx. 04108
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                                                                              Appx. 04111
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                                                                              Appx. 04114
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                                                                              Appx. 04115
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                                                                              Appx. 04116
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                                                                              Appx. 04123
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                                                                              Appx. 04124
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                            EXHIBIT 202




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                                                                              Filed: 03/02/2020




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                            )
     In re:                                                 )     Chapter 11
                                                            )
     HIGHLAND CAPITAL MANAGEMENT,                           )     Case No. 19-34054-sgj11
     L.P., 1                                                )
              Debtor.                                       )
                                                            )     Docket Ref. No. 474
                                                            )

                       OBJECTION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS TO THE MOTION OF THE
      DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT NOT DIRECTING,
     THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN “RELATED ENTITIES”

          The official committee of unsecured creditors (the “Committee”) of Highland Capital

 Management, L.P. (the “Debtor”), hereby submits this objection (this “Objection”) to the Motion

 of the Debtor for Entry of an Order Authorizing, But Not Directing, the Debtor to Cause

 Distributions to Certain “Related Entities” [Docket No.474] (the “Distribution Motion”). 2 In

 support of this Objection, the Committee respectfully states as follows:

                                     PRELIMINARY STATEMENT

          1.        The Committee’s objection focuses on a very limited portion of the transaction

 currently proposed by the Debtor – namely, proposed distributions of approximately $8.6 million

 (the “Proposed Insider Distributions”) to several insiders who not only owe money to the Debtor

 but also may be the target of avoidance and other litigation brought by the Committee on behalf


 1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
      address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
      Distribution Motion.




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 of the Debtor’s estate - Mark Okada and two entities owned and/or controlled by James Dondero

 and/or Mark Okada (such entities, together with Messrs. Dondero and Okada, the “Insider

 Parties”). As this Court is aware, Messrs. Dondero and Okada owned and controlled the Debtor

 for most of the past 30 years. During that time, the Debtor repeatedly breached fiduciary duties

 and contractual obligations, leading to hundreds of millions of dollars in judgments against the

 Debtor and certain affiliates. The Committee is currently investigating a variety of significant

 potential estate claims against the Insider Parties. For example, certain of the interests held by the

 Insider Parties, which form the basis for a portion of the Proposed Insider Distributions, were once

 owned by the Debtor – the Committee is investigating, among other things, the propriety of the

 transfers of these interests from the Debtor to the Insider Parties. In addition, Messrs. Dondero

 and Okada currently owe the Debtor over $10.6 million in demand notes and another Insider Party

 owes the Debtor nearly $7.5 million in notes receivable, some of which also are demand notes. In

 light of these and other potential claims, which are only now the subject of review by a party other

 than the Debtor, the Committee believes the Proposed Insider Distributions to the Insider Parties

 should be reserved in segregated accounts pending resolution of the issues under investigation by

 the Committee and repayment of all amounts owed to the Debtor by the Insider Parties.

         2.       This Court’s order granting the relief requested by the Committee would shield the

 Debtor from any purported legal risks associated with withholding the Proposed Insider

 Distributions. Similarly, the Debtor and Independent Board would not breach their fiduciary duties

 by complying with this Court’s order to withhold the Proposed Insider Distributions. 3




 3
  Even absent court order, the Committee is highly skeptical of the legal merit of any such legal claims by Messrs.
 Dondero and Okada and related damages for any alleged breach of contract and/or fiduciary duty by the Debtor.


                                                         2
                                                                                                      Appx. 04128
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        3.      Temporarily withholding and segregating the proposed distributions would greatly

 facilitate the Debtor’s interests while causing little harm to the Insider Parties. It would facilitate

 repayment of over $18 million in notes payable to the Debtor by the Insider Parties. Moreover,

 delay in the distribution will allow the Committee an adequate opportunity to investigate potential

 estate claims against the Insider Parties, including claims arising from the very transactions

 pursuant to which the Debtor transferred certain of the interests at issue to such parties.

        4.      While the Debtor and Independent Board have taken the position that they cannot

 affirmatively seek this relief, clearly both should be supportive of this outcome which preserves

 claims of the Debtor’s estate and a ready source of recovery for the outstanding demand notes.

 Moreover, the Proposed Insider Distributions will be temporarily placed in segregated, interest

 bearing accounts, compensating the Insider Parties for any material injury from the mere passage

 of time. To the extent Messrs. Dondero and Okada believe they would incur additional harm of

 which the Committee is not aware, they – not the Debtor – should bring those concerns directly to

 this Court.

                                            OBJECTION

        5.      Through the Distribution Motion, the Debtor seeks authority to make redemption

 payments and other distributions to investors in certain funds managed by the Debtor. Specifically,

 as part of the Debtor’s plan to distribute (i) approximately $123.25 million to investors of RCP,

 (ii) $21.8 million to investors of AROF in connection with the wind up of such fund, and (iii) $34.8

 million to investors in Dynamic in connection with the wind up of such fund – the Debtor seeks

 authority for some of the foregoing distributions to be made to the Insider Parties. Of the almost

 $180 million in distributions, the Committee only objects to the distribution of a total of $8.6

 million to be distributed to three Insider Parties. Specifically, the Committee objects to the request



                                                   3
                                                                                            Appx. 04129
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 to make distributions to Mark Okada, Highland Capital Management Services, Inc. (“HCM

 Services,” owned by James Dondero, and Mark Okada), and CLO Holdco Ltd. (“CLOH”). 4 To

 be clear, the Committee does not object to the Debtor’s orderly liquidation of Dynamic or AROF,

 or to the distributions from AROF, Dynamic, and RCP to any third-party, non-affiliated investors.

 However, in light of the significant amounts of money owed to the Debtor by Mr. Okada, Mr.

 Dondero and HCM Services, the Committee’s ongoing investigation of the Debtor’s insiders and

 related entities (including with respect to the propriety of how the Insider Parties obtained the

 interests which form the basis of the Proposed Insider Distributions (such interests, the “Insider

 Interests”)), and the well-documented fraudulent and improper activities engaged in by the

 Debtor’s insiders, the Committee requests that the Court order the Debtor to hold the Proposed

 Insider Distributions in a reserve for a limited period of time.

     I.        The Proposed Insider Distributions Should Be Reserved Pending the Repayment
               of Insiders Parties’ Obligations Owed to the Debtor and the Committee
               Investigation

          6.      Through the Distribution Motion, the Debtor seeks to make the following Proposed

 Insider Distributions:

           Investor                       Distribution Amount                      Fund
           CLO HoldCo, Ltd.                               $872,000                 AROF
           CLO HoldCo, Ltd.                              $1,521,000                Dynamic
           Mark Okada                                    $4,185,000                Dynamic
           Highland Capital Management                   $2,085,000                RCP
           Services, Inc.
                                    Total                $8,663,000

 These Proposed Insider Distributions are a small portion of the $180 million to be distributed from

 Dynamic, AROF and RCP.



 4
  The Distribution Motion also seeks authority to make distributions to Highland Dynamic Income Fund GP, LLC.
 The Committee does not object to such distribution.


                                                      4
                                                                                                 Appx. 04130
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 The Insider Parties Owe the Debtor Money

         7.      It is undisputed that James Dondero, Mark Okada, and HCM Services owe the

 Debtor significant amounts of money. The Debtor’s schedule of assets and liabilities [Docket No.

 247] discloses that, as of the Petition Date, the Debtor holds notes receivable from (i) James

 Dondero, in the principle amount of $9,334,012 (the “Dondero Note”) 5; (ii) HCM Services in the

 aggregate principle amount of $7,482,480.88 (the “HCM Services Notes”), and (iii) Mark Okada,

 in the principle amount of $1,336,287.84 (the “Okada Note”, and with the Dondero Note and the

 HCM Services Notes, the “Notes”). The Dondero Note, the Okada Note, and four of the five HCM

 Services Notes are demand notes, payable upon the request of the Debtor. These Notes should be

 repaid before the Debtor makes any distributions to these insiders.

 The Insider Parties Have Engaged in a Pattern of Fraudulent Activities to the Detriment of
 Creditors

         8.      Further, as this Court is well-aware, the Debtor has a documented history of

 engaging in misconduct, breaches of fiduciary duty and fraudulent transactions in multiple

 settings, which ultimately led to the commencement of this bankruptcy case. At all relevant times,

 Mr. Dondero and Mr. Okada, as co-founders and executive officers, managed and controlled the

 Debtor and were ultimately responsible for the Debtor’s pattern of misconduct, breaches of

 fiduciary duty and fraudulent activities.

         9.      As examples of the extensive misconduct, in 2014, the Securities and Exchange

 Commission (“SEC”) determined (i) that the Debtor knowingly engaged in multiple transactions

 with its client advisory accounts without disclosing that the Debtor was acting as principal, or

 obtaining client consent, before the trades were completed, and (ii) that the debtor failed to


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  The Dondero Note is in addition to $18.3 million owed to the Debtor under a demand note made by The Dugaboy
 Investment Trust, of which Mr. Dondero is a beneficiary.


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 maintain sufficient documentation with respect to certain transactions. See SEC Order ¶¶ 6-7, In

 the Matter of Highland Capital Mgmt., L.P., File No. 3-16169 [Docket No. 130. Ex. A]. As

 established in the Redeemer Committee litigation, the Debtor, under the control of Mr. Dondero

 and Mr. Okada, was found to have covertly and improperly taken $32.3 million in cash out of the

 a fund for which the Debtor acted as investment manager (the “Crusader Fund”), and was found

 to have made decisions with the “willful intent” to benefit itself and not the parties to whom the

 Debtor owed fiduciary duties. An arbitration panel unanimously found that the Debtor, Mr.

 Dondero, and Highland’s in-house lawyers violated their fiduciary duties to the Crusader Fund,

 engaged in willful misconduct, self-dealing, and secrecy, and made multiple misrepresentations to

 the Crusader Fund’s investors as well as the Debtor’s auditors.

        10.     In the Acis Capital Management bankruptcy case, this Court found that there was

 a “legitimate prospect” that the Debtor “would continue dismantling [Acis], to the detriment of

 [Acis] creditors.” In re Acis Capital Mgmt., L.P., 584 B.R. 115, 147, 149 (Bankr. N.D. Tex. 2018).

 Following an arbitration award against Acis, Mr. Dondero and other members of the Debtor’s

 management transferred tens of millions of dollars in assets out of Acis into newly-formed Cayman

 Islands-based Highland affiliates. Id. at 127-130. This Court ultimately concluded that the “record

 contain[ed] substantial evidence of both intentional and constructive fraudulent transfers,” and

 “[t]he numerous prepetition transfers that occurred around the time of and after the Terry

 Arbitration Award appear[ed] more likely than not to have been made to deprive the Debtor-Acis

 of value and with the actual intent to hinder, delay, or defraud the Debtors’ creditors.” See In re

 Acis Capital Mgmt., L.P., No. 18-30264, 2019 WL 417149, at *11 (Bankr. N.D. Tex. Jan. 31,

 2019), aff’d 604 B.R. 484 (N.D. Tex. 2019). In both the Acis bankruptcy case and the Crusader

 Fund arbitration, the Debtor’s management were found to have manufactured dishonest and



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 illegitimate defenses and provided unreliable and incredible testimony regarding the Debtor’s

 actions.

         11.       Each of the Insider Parties are closely affiliated with Mr. Dondero and/or the

 fraudulent actions that led the Debtor to bankruptcy:

               x   Mark Okada: Mr. Okada is the co-founder of the Debtor, and was the Chief
                   Investment Officer until shortly before the commencement of this chapter 11 case.
                   As Chief Investment Officer, Mr. Okada was responsible for overseeing the
                   Debtor’s investment activities across all investment platforms. Mr. Okada was an
                   executive officer of the Debtor (i) when the Debtor was found by the SEC to have
                   engaged in wrongful transactions without disclosing important information to
                   clients, (ii) when the Debtor stripped Acis of its assets – CLO portfolio management
                   contracts – and transferred to them a newly formed Cayman entity, and (iii) when
                   the Debtor engaged in misconduct and breached fiduciary duties with respect to the
                   Crusader Fund. Mr. Okada was the beneficial owner of 25% of Acis Capital
                   Management, L.P. when Mr. Dondero and the Debtor transferred assets away from
                   Acis, and this Court found that Mr. Dondero and Mr. Okada were the individuals
                   making decisions for Highland CLO Funding Ltd. (“HCLOF Guernsey”) in
                   connection with the events leading to the Acis bankruptcy litigation. 6

               x   HCM Services – As the Debtor disclosed, HCM Services is owned 75% by Mr.
                   Dondero and 25% by Mr. Okada. HCM Services appears to have received its
                   interests in RCP from the Debtor, but the circumstances of such transaction have
                   yet to be fully investigated by the Committee. HCM Services owes the Debtor
                   $7,482,481, of which $900,000 is payable on demand. The Committee understands
                   that Mr. Dondero remains in complete control of HCM Services.

               x   CLOH – CLOH is an entity owned by Charitable DAF Fund, LP (the “DAF”),
                   which was seeded with contributions from the Debtor; the consideration for such
                   contributions has yet to be fully investigated by the Committee. The DAF is
                   managed and advised by the Debtor, and its trustee is a long-time friend of Mr.
                   Dondero. 7 The trustee for the DAF has also served as trustee for The Get Good
                   Trust, The Dugaboy Investment Trust, and the SLHC Trust, of which Mr. Dondero

 6
   In re Acis Capital Management, L.P., 2019 WL 417149, at *7, *9 (Bankr. N.D. Tex. January 31, 2019) (observing
 (i) that Mr. Okada owed 25% of Acis until the day after Mr. Terry obtained his arbitration judgement against Acis, at
 which point Mr. Okada conveyed his interests in Acis to Neutra, Ltd. for no consideration, and that (ii) Mr. Dondero,
 Mr. Okada, and another Highland employee made decisions for HCLOF Guernsey regarding the optional redemptions
 of the Acis CLOs).
 7
   See In re Acis Capital Management, L.P., 2019 WL 417149, at *6 (Bankr. N.D. Tex. January 31, 2019) (noting
 that one of the three equity owners of HCLOF Guernsey was the DAF, which was “seeded with contributions from
 Highland, is managed/advised by Highland, and whose independent trustee is a long-time friend of Highland’s
 chief executive officer, Mr. Dondero” (emphasis in original)).


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                is a beneficiary. The Distribution Motion discloses that the interests in Dynamic
                currently held by CLOH were originally held by the Debtor, and were transferred
                to The Get Good Nonexempt Trust, in exchange for Get Good’s interest in a
                promissory note made by The Dugaboy Investment Trust, and then from Get Good
                to Mr. Dondero’s Highland Dallas Foundation, Inc. and then to CLOH. The
                Distribution Motion does not disclose how or when CLOH obtained its interests in
                AROF. The Committee is investigating CLOH’s relationship to and transactions
                with Mr. Dondero and other entities controlled by or otherwise benefitting Mr.
                Dondero.

 The Committee is Investigating Claims Against the Insider Parties, Including Transfers the
 Transfers of the Insider Interest

        12.     Pursuant to the Term Sheet outlining the agreement between the Debtor and the

 Committee, the Committee has standing to pursue any and all estate claims and causes of action

 against Mr. Dondero, Mr. Okada, other insiders of the Debtor and the Debtor’s related entities

 (which include the DAF and CLOH), “including any promissory notes held by any of the

 foregoing.” [Docket No. 354] This part of the settlement with the Debtor was a critical component

 of the Committee’s agreement to the governance structure in lieu of seeking appointment of a

 chapter 11 trustee. The Committee has begun its investigation and served document production

 requests to the Debtor. Among other claims and causes of action, the Committee is investigating

 potential preferential transfers, fraudulent transfers, breaches of fiduciary duties, usurpation of

 corporate opportunities, misappropriation of assets, and abuses of the corporate form. The

 Committee’s investigation includes fully exploring the circumstances and transactions through

 which HCM Services, CLOH and Mr. Okada obtained the Insider Interests.

        13.     The Debtor’s history of self-dealing and improper or fraudulent activities suggests

 that the Committee’s investigation is likely to uncover similar inappropriate activities with respect

 to the Debtor’s assets, including the Insider Interests. The Debtor’s statements of financial affairs

 [Docket No. 248] disclosed that the Debtor made significant payments to affiliates through

 purported intercompany funding and affiliate loans in the 90 days prior to the filing date, along


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 with significant other insider transfers in the one year before the filing date (including very large

 expense reimbursement payments to Mr. Dondero). The Committee must have the opportunity to

 fully investigate the insider and affiliate transactions, including those that gave rise to the Insider

 Interests, that may be the subject of valuable estate causes of action before transactions distributing

 funds to those same insiders and affiliates can be consummated.

        14.     This is all the more true because the evidence is that, even during this bankruptcy

 case, Mr. Dondero continues to engage in secretive and potentially improper transactions. The

 Distribution Motion fails to highlight that the MGM Sale was negotiated by Mr. Dondero without

 the knowledge or approval of Debtor’s counsel or the Debtor’s financial advisors. Specifically, at

 the very same time that the Debtor’s counsel and financial advisors were attempting to persuade

 the Committee to approve certain transactions with respect to RCP, Mr. Dondero, unbeknownst to

 any Debtor professional, committed the Debtor to executing the MGM Sale. The Independent

 Directors, the Debtor’s counsel and the Debtor’s CRO and financial advisors were not made aware

 of the MGM Sale until two months after Mr. Dondero allegedly committed to the transaction on

 behalf of the Debtor. While the Committee has decided not to object to the MGM Sale itself

 (based, in significant part, on feedback from the Independent Board regarding its concern about

 the alleged binding nature of Mr. Dondero’s secretive agreement with MGM), the circumstances

 surrounding Mr. Dondero’s negotiation of and entry into the transaction are alarming at best, and

 the Committee has not waived any rights to fully investigate that transaction and any related

 potential causes of action against Mr. Dondero or others.

        15.     In addition to its concern that some or all of the Proposed Insider Distributions may

 be on account of otherwise avoidable transactions, based upon the Interested Parties’ long history

 of transferring assets and taking other actions to hinder, delay, and defraud creditors, the



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  Committee is also seriously concerned that the Insider Parties will swiftly place these distributions

  out of reach of the Debtor’s estate while refusing to satisfy their obligations to the Debtor. Such

  actions would jeopardize the estate’s ability to recover amounts owed to it and any future

  judgments against the Insider Parties, and would waste estate resources by forcing the Debtor to

  incur additional litigation costs to recover such debts and judgments.

     II.         The Court Has Authority to Direct the Debtor to Withhold the Proposed Insider
                 Distributions

           16.      The Court “may issue any order, process, or judgment that is necessary or

  appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). “Courts

  interpret Section 105 liberally.” King Louie Mining, LLC v. Comu (In re Comu), Nos. 09-38820-

  SGJ-7, 10-03269-SGJ, 2014 Bankr. LEXIS 2969, at *264 (Bankr. N.D. Tex. July 8, 2014)

  (citing Momentum Mfg. Corp. v. Employee Creditors Committee (In re Momentum Mfg. Corp.),

  25 F.3d 1132, 1136 (2d Cir. 1994)). While the Supreme Court has found that section 105(a) does

  not give the bankruptcy court the ability to take any actions explicitly prohibited by another

  provision of the Bankruptcy Code, it does grant “extensive equitable powers that bankruptcy

  courts need in order to be able to perform their statutory duties.” Caesars Entm't Operating Co.

  v. BOKF, N.A. (In re Caesars Entm't Operating Co.), 808 F.3d 1186, 1188 (7th Cir. 2015) (citing

  Law v. Siegel, 571 U.S. 415, 420 (2014). Section 105 has been the source of authority for courts

  to, among other things, enjoin third parties, substantively consolidate non-debtors, and extend the

  automatic stay. See e.g., Celotex Corp. v. Edwards, 514 U.S. 300, 303 (1995) (holding that an

  injunction issued under § 105 was an appropriate use of the court’s powers); Alexander v. Compton

  (In re Bonham), 229 F.3d 750, 769 (9th Cir. 2000) (holding that the court’s power to substantively

  consolidate non-debtors was found in § 105); In re DeLorean Motor Co., 755 F.2d 1223, 1230




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 (6th Cir. 1985) (holding that a preliminary injunction issued to bar distributions from a non-debtor

 to third parties was an appropriate use of the court’s equitable power under § 105).

        17.     Temporarily withholding the Proposed Insider Distributions and placing the

 corresponding funds in segregated accounts is well within the authority of this Court under section

 105 of the Bankruptcy Code. The Insider Parties are current and former affiliates and/or insiders

 of the Debtor and creditors of the Debtor. The order requested by the Committee will allow full

 investigation of the claims and causes of action against the Insider Parties that was integral to the

 settlement approved by this Court in connection with approval of the Term Sheet. Furthermore,

 the Committee submits (and the Debtor has not asserted otherwise) that the relief sought by the

 Committee would not violate any explicit or implicit requirements of the Bankruptcy Code.

 Therefore, the Court need only consider the equitable nature of the relief that the Committee seeks,

 and its appropriateness in the context of furthering the goals of this bankruptcy. See In re Caesars

 Entm't Operating Co., 808 F.3d at 1188.

        18.     The equitable argument for temporarily withholding the Proposed Insider

 Distributions and segregating such funds is straightforward. These actions merely maintain the

 status quo. The Committee is not requesting that the Debtor effectuate a set-off or take possession

 of the Proposed Insider Distribution. No party has asserted that any economic harm (much less

 any significant harm) will be done to the Insider Parties by holding the Proposed Insider

 Distributions in segregated interest bearing accounts pending further order of this Court. On the

 other hand, the withholding of the Proposed Insider Distributions (and the resulting leverage that

 creates against the Insider Parties) may be the only chance for the Debtor to receive any value for

 the amounts it is owed (or potentially owed) by the Insider Parties or obtaining redress for

 fraudulent or improper transactions involving those parties, including with respect to the Insider



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  Interest. As set forth above, the Insider Parties and the persons controlling them have repeatedly

  engaged in schemes and other behavior designed to evade creditors. It should not surprise this

  Court to learn that, after making demand for payment on the demand note from Mr. Okada as of

  February 13th at the urging of the Committee, the Debtor still has yet to receive any payment from

  Mr. Okada. Absent approval of the Committee’s request, the Debtor’s efforts to collect from the

  Insider Parties may be extremely cost intensive and time-consuming. It is fair and equitable for

  this Court to temporarily prevent money from flowing to the Insider Parties in order to facilitate

  the Debtor’s efforts to recover amounts owed to it. Furthermore, the Committee should be given

  the opportunity to investigate the propriety of the Debtor’s transfers of its interests in the

  underlying funds to the Insider Parties, including the Insider Interests. Maintaining the status quo

  until the Committee has investigated those transfers is fair and equitable and falls well within this

  Court’s authority under section 105.

         19.     Moreover, the relief sought by the Committee would further the goals of this

  bankruptcy case and would allow the Debtor to fulfill its duties to creditors by maximizing the

  value of the estate. The Debtor contends, and the Committee does not disagree, that the Debtor

  has certain contractual and fiduciary duties to the investors in the funds that it manages. The

  Debtor asserts that those duties compelled the Debtor to file the Distribution Motion. Distribution

  Motion ¶ 7. The Debtor also has duties to its creditors, however, and the Committee, for the

  reasons set forth above, asserts that such duties require the Debtor to avoid making the Proposed

  Insider Distributions at this time. Filing the Distribution Motion should fulfill any duties the

  Debtor may have to the Insider Parties in respect of the Proposed Insider Distributions. An order

  from this Court providing that the Proposed Insider Distributions should be temporarily withheld




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  and segregated fully addresses any conflict of duties the Debtor otherwise may have, and would

  allow the Debtor to more effectively carry out its duty to maximize the value of the estate.

         20.     Accordingly, the Committee believes that the Court should order the Debtor to

  withhold and segregate the Proposed Insider Distributions until (i) the Insider Parties repay the

  Notes that are currently due and payable and (ii) the Committee has an opportunity to fully

  investigate estate causes of action against such Insider Parties. The Committee does not propose

  that the Debtor effectuate a setoff or take possession of the Proposed Insider Distributions; rather

  the Committee requests that the Court order the Debtor to segregate and hold the Proposed Insider

  Distributions in reserve for a limited period of time in order to avoid the significant prejudice to

  the estate in allowing cash distributions to be paid to Insider Parties and beneficiaries that owe the

  Debtor money, and then forcing the estate to spend resources recovering assets from these parties.

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         WHEREFORE, the Committee respectfully requests that the Court deny the Distribution

  Motion and direct the Debtor to hold the Proposed Insider Distributions in segregated interest

  bearing accounts pending further order of the Court.


   Dated: March 2, 2020                      SIDLEY AUSTIN LLP
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                                             UNSECURED CREDITORS




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                            EXHIBIT 203




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   SRVLWLRQVLQ0*0FDOOLQJLQWRTXHVWLRQZK\GRLQJVRIRUWKLV'HEWRUFRQWUROOHGIXQGZDVLQWKH

   YDULRXVVWDNHKROGHUV¶EHVWLQWHUHVWVDQGFRQVHTXHQWO\LQWKHHVWDWH VEHVWLQWHUHVWV

                :KLOHWKH&RPPLWWHHGLGQRWXOWLPDWHO\REMHFWWRWKHXQGHUO\LQJWUDQVDFWLRQ$FLV

   REMHFWHGLQWKHVWURQJHVWWHUPV7KLVZDVQRWDQRUGLQDU\FRXUVHWUDQVDFWLRQDQGPXFKLVWREH

   OHDUQHG DERXW WKH FLUFXPVWDQFHV VXUURXQGLQJ 'RQGHUR V SXUSRUWHG  PLOOLRQ RUDO WUDGH

   (YHQLIWKHWUDGHUHDOO\KDSSHQHGDQGZDVSURSHULWGRHVQRWUHIOHFWVRXQGEXVLQHVVMXGJPHQWIRU

   WKH'HEWRUWRDOORZPLOOLRQVRIGROODUVJRRXWWKHGRRUWRLQVLGHUVZKHQWKRVHVDPHLQVLGHUVZLOO

   OLNHO\ RZH PXFK PXFK PRUH WR WKH HVWDWH  5DWKHU WKDQ DXWKRUL]LQJ WKH 'HEWRU WR UHZDUG

   'RQGHUR DQG RWKHU LQVLGHUV IRU KLV PLVIHDVDQFH WKH &RXUW VKRXOG VXVWDLQ WKH &RPPLWWHH V

   2EMHFWLRQ




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   72 7+( &200,77(( 6 2%-(&7,21 72 7+( 027,21 72 7+( '(%725 )25 (175< 2) $1
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   &(57$,15(/$7('(17,7,(6$1'&200(17727+(6$0(                         3DJHRI
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                  2Q2FWREHUWKH'HEWRUILOHGWKHDERYHFDSWLRQHGEDQNUXSWF\FDVH WKLV

   %DQNUXSWF\&DVH 

                  2Q2FWREHUWKH'HEWRUILOHGLWVPrecautionary Motion of the Debtor for

   Order Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary

   Course of Business >'RFNHW 1R @ WKH ,QLWLDO 3URWRFROV 0RWLRQ  ZKHUHE\ WKH 'HEWRU

   UHTXHVWHGWKDWWKH&RXUWDSSURYHFHUWDLQSURWRFROVZLWKUHVSHFWWRRUGLQDU\FRXUVHVHUYLFHVDQG

   LQWHUFRPSDQ\WUDQVDFWLRQV

                  $OVR RQ 2FWREHU   WKH 86 7UXVWHHDSSRLQWHGWKH&RPPLWWHH RI ZKLFK

   $FLVLVDPHPEHUSee'RFNHW1R

                  ,Q 1RYHPEHU  DV GHVFULEHG LQ WKH 'LVWULEXWLRQ 0RWLRQ SULRU WR WKH

   DSSRLQWPHQWRIWKH,QGHSHQGHQW%RDUGWKH'HEWRUUHTXHVWHGWKH&RPPLWWHH VDXWKRUL]DWLRQWR

   SURFHHG ILUVW ZLWK WKH ODUJHU WUDQVDFWLRQV DQG WKHQ VROHO\ WKH 0*0 6DOH EXW WKH &RPPLWWHH

   UHMHFWHGERWKRIWKHVHWUDQVDFWLRQV'LVWULEXWLRQ0RWLRQ

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   0*0 6DOH DQG ZLWKRXW DSSURYDO RI WKH 'HEWRU V FRXQVHO RU ILQDQFLDO DGYLVRUV RU WKHLU

   NQRZOHGJH 'RQGHURSXUSRUWHGO\RUDOO\HQWHUHGLQWRWKHFODQGHVWLQHURJXHWUDGHRIPLOOLRQ

   VKDUHVRI0*0VWRFNIRUPLOOLRQRUIRUSHUVKDUHSee id:KLOH'RQGHUR

   ZDV VWLOO FRQWUROOLQJ WKH 'HEWRU KH ZDV DOVR RQ WKH ERDUG RI GLUHFWRUV RI 0*0 8SRQ

   LQIRUPDWLRQ DQG EHOLHI 'RQGHUR HQJDJHG LQ WKLV SXUSRUWHG WUDGH MXVW DIWHU 0*0 UHSRUWHG

   HDUQLQJV DQG PRVW OLNHO\ EHIRUH WKH PDUNHW DEVRUEHG WKH UHSRUWHG HDUQLQJV 7KHVH



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    $OVRGLVWXUELQJMXVWSULRUWRWKHSXUSRUWHGWUDGHWKH'HEWRU V&52%UDGOH\6KDUSZDVGHSRVHGDQGWHVWLILHGWKDW
   XQGHUKLVHQJDJHPHQWOHWWHU'RQGHURZDVUHTXLUHGWRREWDLQKLVDSSURYDOIRUVXFKUHODWHGSDUW\WUDQVDFWLRQV
   -2,1'(5 2) $&,6 &$3,7$/ 0$1$*(0(17 /3 $1' $&,6 &$3,7$/ 0$1$*(0(17 *3 //&
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   FLUFXPVWDQFHVUHIOHFWWKHFRQWLQXDWLRQRI'RQGHUR VSDWWHUQRI IORXWLQJKLVGXWLHVLQFRQQHFWLRQ

   ZLWKWKH'HEWRURUWKLV%DQNUXSWF\&DVH

                   $V H[SODLQHG E\ WKH &RPPLWWHH LQ LWV 2EMHFWLRQ WKH ,QGHSHQGHQW %RDUG

   'HEWRU V FRXQVHO DQG WKH 'HEWRU V &52 DQG ILQDQFLDO DGYLVRUV ZHUH QRW PDGH DZDUH RI WKH

   0*0 6DOH XQWLO RYHU WZR PRQWKV DIWHU 'RQGHUR SXUSRUWHGO\ FRPPLWWHG WR WKH WUDQVDFWLRQ RQ

   EHKDOI RI WKH 'HEWRU /LNHZLVH WKH 0*0 6DOH ZDV QRW GLVFORVHG WR WKH &RPPLWWHH XQWLO

   )HEUXDU\Id

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   @ WKH7HUP6KHHW ZKLFKVHWRXWSURSRVHGWHUPVRIDVHWWOHPHQWEHWZHHQWKH'HEWRUDQG

   WKH&RPPLWWHHUHODWHGWRWKH'HEWRU VFRUSRUDWHJRYHUQDQFHDQGRSHUDWLQJSURWRFROV7KHQH[W

   GD\RQ-DQXDU\WKH'HEWRUZLWKGUHZWKH,QLWLDO3URWRFROV0RWLRQSee'RFNHW1R

                  2Q)HEUXDU\WKH'HEWRUILOHGLWVNotice of Debtor's Amended Operating

   Protocols >'RFNHW 1R@ WKH 3URWRFROV  8QGHU WKH 3URWRFROV DPHQGHG VOLJKWO\ IURP WKH

   7HUP 6KHHW  WKH RSHUDWLQJ UHTXLUHPHQWV IRU 2UGLQDU\ &RXUVH 7UDQVDFWLRQV ZKLFK GR QRW

   UHTXLUH&RXUWDSSURYDO GLIIHUVLJQLILFDQWO\IURP5HODWHG(QWLW\7UDQVDFWLRQVZKLFKOLNHO\GR

   UHTXLUH &RXUW DSSURYDO LI WKH &RPPLWWHH REMHFWV See 3URWRFROV ([ $ DW   8QGHU WKH

   3URWRFROV0*0+ROGLQJV,QFLVVSHFLILFDOO\GHILQHGDVD5HODWHG(QWLW\IdDW

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                  $FLV H[SUHVVO\ MRLQV WKH &RPPLWWHH V 2EMHFWLRQ DQG KHUHE\ LQFRUSRUDWHV WKH

       2EMHFWLRQDVLIVHWIRUWKLQIXOODQGIRUDOOSXUSRVHVKHUHLQ




   -2,1'(5 2) $&,6 &$3,7$/ 0$1$*(0(17 /3 $1' $&,6 &$3,7$/ 0$1$*(0(17 *3 //&
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   $        7KH&RXUWVKRXOGQRWDOORZ'RQGHURDQGRWKHU,QVLGHU3DUWLHVWREHQHILWIURPWKH
              URJXH 0*0 6DOH E\ DOORZLQJ WKH 'HEWRU WR PDNH WKH 3URSRVHG ,QVLGHU
              'LVWULEXWLRQV

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       %DQNUXSWF\&DVH²WRHQULFKKLPVHOI RURWKHUHQWLWLHVKHFRQWUROV DWWKHH[SHQVHRIWKHHVWDWH

       1RZWKH'HEWRUVHHNVDXWKRULW\WRDSSURYH'RQGHUR VPLVIHDVDQFH$WDPLQLPXPLWLVRQO\

       SURSHUIRUWKLV&RXUWWRVXVWDLQWKH&RPPLWWHH V2EMHFWLRQDQGSUHYHQWGLVWULEXWLRQRIDQ\RIWKH

       3URSRVHG,QVLGHU'LVWULEXWLRQV

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       'RQGHURZDVRQERWKVLGHVRIWKH0*06DOH:KLOHDFWLQJDVDGLUHFWRURQ0*0 VERDUGKH

       ZDV DOVR DFWLQJ RQ EHKDOI RI WKH 'HEWRU  )XUWKHU HYHQ WKRXJK WKLV WUDQVDFWLRQ UHTXLUHG &52

       RYHUVLJKWXQGHUWKHSURSRVHGSURWRFROV ZKLFKZHUHFRQWHPSODWHGDWWKHWLPHRIRUVRRQDIWHU

       WKHEDQNUXSWF\ILOLQJ 'RQGHURHQJDJHGLQWKHSXUSRUWHGURJXH0*06DOHZLWKRXWNQRZOHGJH

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       LQIRUPDWLRQ DQG EHOLHI 0*0 VKDUHV KDYH UHFHQWO\ WUDGHG LQ WKH V 0RUHRYHU RWKHU

       'RQGHURFRQWUROOHG HQWLWLHV KDYH QRW VROG WKHLU SURUDWD SRVLWLRQV LQ 0*0 ZKLFK FDOOV LQWR

       TXHVWLRQ ZKHWKHU WKLV WUDQVDFWLRQ ZDV LQ WKH EHVW LQWHUHVW RI WKH 'HEWRU DQG WKH YDULRXV

       VWDNHKROGHUVLQWKLV'HEWRUFRQWUROOHGIXQG

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       DSSURYDO 7KH &RPPLWWHH QHYHUWKHOHVV YRWHG WR DSSURYH LW  6WLOO E\ LWV 2EMHFWLRQ WKH

       &RPPLWWHH UHTXHVWV WKDW WKH &RXUW GLUHFW WKH 'HEWRU WR ZLWKKROG DQ\ 3URSRVHG ,QVLGHU

       'LVWULEXWLRQV XQWLO WKH ,QVLGHU 3DUWLHV UHSD\ 1RWHV WKDW DUH FXUUHQWO\ GXH DQG SD\DEOH WR WKH




   -2,1'(5 2) $&,6 &$3,7$/ 0$1$*(0(17 /3 $1' $&,6 &$3,7$/ 0$1$*(0(17 *3 //&
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       'HEWRU DQG WKH &RPPLWWHH FDQ IXOO\ LQYHVWLJDWH FDXVHV RI DFWLRQ DJDLQVW WKH ,QVLGHU 3DUWLHV

       $FLVMRLQVLQWKLVUHTXHVW

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              ,QVLGHU3DUWLHVLVQRWLQWKH'HEWRUV VRXQGEXVLQHVVMXGJPHQW

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       3URWRFROVWKHPVHOYHVEHOLHWKLVDVVHUWLRQ7KH3URWRFROVVSHFLILFDOO\FDUYHRXW5HODWHG(QWLW\

       7UDQVDFWLRQV VXFK DV WKH 0*0 6DOH IURP 2UGLQDU\ &RXUVH 7UDQVDFWLRQV ZKLFK GR QRW

       UHTXLUH&RXUWDSSURYDO1RZDUJXLQJWKDWWKHVH5HODWHG(QWLW\7UDQVDFWLRQVVKRXOGVLPSO\EH

       UXEEHU VWDPSHG EHFDXVH WKH\ DUH RUGLQDU\ FRXUVH XQGHU VHFWLRQ  F  GHIHDWV WKH SXUSRVH RI

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       Gluckstadt Holdings, L.L.C. v. VCR I, L.L.C. (In re VCR I, L.L.C.))G WK

       &LU  QRWLQJWKDWXQGHUVHFWLRQ E D WUXVWHHDVDGXW\WRPD[LPL]HWKHYDOXHRIWKH

       HVWDWH   quoting Cadle Co. v. Mims (In re Moore)  )G   WK &LU  

       ASARCO, Inc. v. Elliott Mgmt. (In re ASARCO, L.L.C.)  )G   WK &LU  

       DIILUPLQJ WKH EDQNUXSWF\ FRXUW V ILQGLQJ WKDW WKH SURSRVHG UHLPEXUVHPHQW RI H[SHQVHV ZDV

       GHVLJQHGWRPD[LPL]HWKHYDOXHRI>WKH@HVWDWHDQGZDVIDLUUHDVRQDEOHDQGDSSURSULDWH 

                  $FFRUGLQJO\ ZKHQ WKH 'HEWRU XVHV SURSHUW\ RI WKH HVWDWH ZKLFK KHUH DUH WKH

       'HEWRU V FRQWUDFW ULJKWV LQ FRQQHFWLRQ ZLWK PDNLQJ WKH 'LVWULEXWLRQV RXWVLGH RI WKH RUGLQDU\
   -2,1'(5 2) $&,6 &$3,7$/ 0$1$*(0(17 /3 $1' $&,6 &$3,7$/ 0$1$*(0(17 *3 //&
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       FRXUVHWKH'HEWRUKDVDGXW\PD[LPL]HYDOXHIRUWKHHVWDWH$VH[SUHVVHGE\WKH&RPPLWWHHLQ

       LWV 2EMHFWLRQ LW GRHV QRW UHIOHFW VRXQG EXVLQHVV MXGJPHQW IRU WKH 'HEWRU WR SD\ PLOOLRQV RI

       GROODUVLQFDVKGLVWULEXWLRQVWRLQVLGHUVZKHQWKRVHVDPHLQVLGHUVOLNHO\RZHPXFKPRUHWRWKH

       HVWDWH

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       &RGH DW D PLQLPXP WKLV &RXUW VKRXOG SUHYHQW WKH 'HEWRU IURP PDNLQJ DQ\ 3URSRVHG ,QVLGHU

       'LVWULEXWLRQV DV VHW IRUWK LQ WKH 2EMHFWLRQ XQWLO WKH &RPPLWWHH KDV WKH RSSRUWXQLW\ WR IXOO\

       LQYHVWLJDWHHVWDWHFDXVHVRIDFWLRQDJDLQVW'RQGHURDQGRWKHU,QVLGHU3DUWLHV

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              $FLV UHVSHFWIXOO\ UHTXHVWV WKDW WKLV &RXUW VXVWDLQ WKH &RPPLWWHH V 2EMHFWLRQ DQG JUDQW

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 Counsel for the Debtor and Debtor-in-Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    §
     In re:                                                         § Chapter 11
                                                                    §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                    §
                                      Debtor.                       §

     DEBTOR’S REPLY IN SUPPORT OF MOTION OF THE DEBTOR FOR ENTRY OF
      AN ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE
                         DISTRIBUTIONS TO CERTAIN
                            “RELATED ENTITIES”




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                   The above-captioned debtor and debtor-in-possession (the “Debtor”) files this reply

  (the “Reply”) in support of the Motion of the Debtor for Entry of an Order Authorizing but Not

  Directing the Debtor to Cause Distributions to Certain “Related Entities” [Docket No. 474] (the

  “Motion”).2

                   In further support of the Motion, the Debtor respectfully states as follows:

                                             Preliminary Statement

                   1.         In the Motion, the Debtor disclosed that certain “Related Entities” (the

  “Related Entity Investors”) had invested in three funds – Dynamic, AROF, and RCP (collectively,

  the “Funds”) – and that the Debtor was seeking authority from this Court to distribute funds owned

  by the Funds – not the Debtor – to the Related Entity Investors that they are contractually entitled

  to receive under the Funds’ governing documents. The Committee objected to the relief sought in

  the Motion,3 and Acis Capital Management, L.P., and Acis Capital Management GP, LLC

  (collectively, “Acis,” and together with the Committee, the “Objecting Parties”) filed a joinder to

  the Committee Objection.4 In their objections, the Objecting Parties – citing only to Section 105(a)

  of the Bankruptcy Code as authority – requested that this Court order the Debtor to “withhold and

  segregate” the proceeds due to the Related Entity Investors. (Committee Objection, § 20.) That

  relief amounts to a request for a preliminary injunction and a prejudgment attachment without

  filing any underlying action or otherwise complying with the procedural and substantive

  requirements to obtain a prejudgment attachment under applicable law. As set forth below, the



  2
    All capitalized terms used but not defined herein shall have the meanings given to them in the Motion.
  3
    Objection of the Official Committee of Unsecured Creditors to the Motion of the Debtor for Entry of an Order
  Authorizing, but Not Directing, the Debtor to Cause Distributions to Certain “Related Entities.” [Docket No. 487]
  (the “Committee Objection”).
  4
    Joinder of Acis Capital Management, L.P., and Acis Capital Management GP, LLC to the Committee’s Objection to
  the Motion of the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause Distributions to
  Certain “Related Entities,” and Comment to the Same [Docket No. 489] (the “Joinder”).

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  existence of potential claims against the Related Parties are not, in and of themselves, sufficient to

  justify such extraordinary relief.

                   2.         As the Debtor disclosed in the Motion it, or in the case of AROF, one of its

  subsidiaries manage the Funds and that the Debtor’s Independent Board (after consultation with

  outside counsel) believes that, as a registered investment adviser, the Debtor has certain duties to

  the funds that it manages, including the Funds. Those duties exist regardless of whether the

  investors in those funds are Related Entities or otherwise and are based on contract and on the laws

  of the United States, Delaware, and the Cayman Islands. Importantly, applicable law prohibits the

  Debtor from asserting its own interest ahead of those of investors. In the Motion, the Debtor

  further disclosed that it did not have the contractual or legal authority to withhold or cause the

  Funds to withhold distributions from the Related Entity Investors or to treat the Related Entity

  Investors differently than non-Related Entity Investors.

                   3.         Because of those duties – duties which both the Debtor and the Independent

  Board take seriously – the Debtor sought the relief requested in the Motion. Although the

  Committee and Acis objected to that relief, notably, neither the Committee nor Acis have alleged

  that any of the Debtor, the Funds, or any other entity can without violating their contractual and

  fiduciary obligations elect not to distribute to the Related Entity Investors their allocable portion

  of the distributions being made to the investors in the Funds. Nor has any party alleged that any

  of the Funds’ assets are property of the Debtor’s estate or that any of the Funds have claims against

  their Related Entity Investors. Instead, the Objecting Parties have asked this Court to use its

  equitable powers under Section 105(a) of the Bankruptcy Code to cause the Debtor to withhold

  distributions to the Related Entity Investors because of certain alleged bad acts and potential claims

  that may exist against those Related Entities.



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                   4.         The Independent Board respects the Committee’s intention to investigate

  claims against the Related Entity Investors and insiders as contemplated by the Term Sheet,

  approved by this Court on January 9, 2020, which led to the installation of the Independent Board.

  The Independent Board intends to cooperate with the Committee in its efforts. At the same time,

  the Independent Board was installed to revamp the Debtor’s prior culture, including to ensure

  obligations to the investors in the funds managed by the Debtor are being appropriately honored.

  The Independent Board believes this is essential to rebuilding the Debtor’s reputation in the

  marketplace and the investor community, and to prospectively protect the Debtor from liability.

  However, neither Section 105(a) nor any other provision of the Bankruptcy Code allows this Court

  to grant the relief that the Objecting Parties are actually requesting – an injunction and prejudgment

  attachment against third parties not currently before the Court.

                                                    Reply

                   5.         The Debtor, or with respect to AROF, its subsidiary, is the investment

  adviser to each of the Funds. As the investment adviser, the Debtor has contractual discretion over

  the selection and disposition of the Funds’ investments, but does not serve in a governance role.

  Rather, the governing body of each Fund is either a board of directors or a general partner. And

  the terms of each of the Funds is governed by its applicable governing documents, which each

  investor was furnished and relied upon when subscribing for an interest in the Fund. The Dynamic

  Fund Documents govern Dynamic; the AROF Fund Documents govern AROF; and the RCP Fund

  Documents govern RCP (the Dynamic Fund Documents, the AROF Fund Documents, and the

  RCP Fund Documents, collectively, the “Fund Documents”). Each of the Fund Documents is in

  turn governed, as applicable, by U.S. and Delaware or Cayman law.




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                    6.        As discussed at length in the Motion, each of the Funds is its own separate

  legal entity which owns its own assets, and none of the Fund Documents allow the Debtor to treat

  the Related Entity Investors – regardless of who such investors happen to be or by whom they are

  owned – differently than non-Related Entity Investors. (Motion, ¶¶ 42-47.) Importantly, neither

  the Committee nor Acis has stated or alleged that: (a) any of the Funds is a debtor in the

  Bankruptcy Case or subject to this Court’s jurisdiction; (b) the assets held by the Funds are

  property of the Debtor’s estate; (c) the Debtor does not have contractual and fiduciary obligations

  to the Funds; or (d) any provision in any of the Fund Documents allows the Debtor to treat the

  Related Entity Investors in the Funds differently than the non-Related Entity Investors in the

  manner being requested.

                    7.        Instead, the Objecting Parties rely on alleged bad acts by the Debtor and

  certain of the Debtor’s employees and principals5 and the Committee’s potential, but inchoate,

  causes of action against such parties to seek what amounts to an injunction from this Court under

  Section 105(a) and a prejudgment attachment against the proceeds that the Related Entity Investors

  in the Funds are contractually entitled to receive – not from the Debtor – but from the Funds.

  However, those alleged bad acts – regardless of whether they occurred pre- or postpetition – and



  5
    The Debtor does not believe that the provenance of the $123.25 million in proceeds from the MGM Sale or Mr.
  Dondero’s role in the MGM Sale is relevant to the Motion. What the Debtor does believe is relevant is that (a) RCP
  is currently in liquidation and is required to liquidate its assets in an orderly manner and (b) RCP’s investors, such as
  the California Public Employees’ Retirement System (“CalPERS”), have requested that the Debtor disburse the
  proceeds of the MGM Sale as quickly as possible in the manner required by the RCP Fund Documents. See, e.g.,
  Response by CalPERS to Motion by the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to
  Cause Distributions to Certain “Related Entities” [Docket No. 486].
  Whether or not Mr. Mr. Dondero had the authority to bind RCP to sell the MGM common stock is not relevant to the
  Motion. When the Independent Board and the Debtor’s professionals found out that Mr. Dondero had agreed to the
  MGM Sale, they reviewed the MGM Sale and independently determined that it was in the best interests of the Debtor’s
  estate to close that sale. The Independent Board disclosed their reasoning to the Committee, and the Committee did
  not object to the MGM Sale. (Committee Objection, § 14.) Consequently, the MGM Sale closed on February 24,
  2020. To the extent the Committee seeks to investigate further the circumstances surrounding the MGM Sale, the
  Independent Board will ensure that the Debtor cooperates with such investigation. However, that issue is not relevant
  to the relief the Debtor is seeking here.

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  potential causes of action are not the subject of the Motion. And if either the Committee or Acis

  believe that such claims exist, the Committee, at least, has been granted standing to pursue those

  claims (and Acis has shown itself more than capable of standing up for its rights). Further, the

  Committee’s and Acis's request is procedurally and substantively improper. To obtain a pre-

  judgment writ or attachment, they are required to commence an action and seek such remedy in

  accordance with due process and to prove the substantive elements that support such relief. The

  Objecting Parties have done neither.

                    8.        First, assuming, arguendo, that Texas state law applies to the Related Entity

  Investors (although the law of other States and the Cayman Islands may also apply), the burden

  associated with seeking a prejudgment attachment is a significant one, and it is placed on the

  moving party – in this case the Objecting Parties. See S.R.S. World Wheels v. Enlow, 946 S.W.2d

  574, 575 (Tex. Civ. App. - Ft. Worth 1997) (“[a]ttachment is a harsh, oppressive remedy; therefore,

  attachment is not available unless statutory safeguards are strictly observed.”).                            To get a

  prejudgment attachment, the Objecting Parties would first be required to commence an action

  articulating the nature and extent of the claims supporting such attachment. Next, the Committee

  would be required to file and serve a request for a prejudgment attachment with appropriate notice

  to the defendant. Finally, to obtain that relief under Texas law, the Committee would have to

  prove the following elements: (a) defendant is justly indebted to the plaintiff; (b) attachment is

  not sought for purposes of harassment or injury; (c) plaintiff will probably lose his debt if there is

  no attachment; and (d) specific grounds for the attachment exist.6 Tex. Civ. Prac. & Rem. Code.


  6
    Specific grounds for attachment under Texas law exist if: (a) the defendant is not a resident of this state or is a
  foreign corporation or is acting as such; (b) the defendant is about to move from this state permanently and has refused
  to pay or secure the debt due the plaintiff; (c) the defendant is in hiding so that ordinary process of law cannot be
  served on him; (d) the defendant has hidden or is about to hide his property for the purpose of defrauding his creditors;
  (e) the defendant is about to remove his property from this state without leaving an amount sufficient to pay his debts;
  (f) the defendant is about to remove all or part of his property from the county in which the suit is brought with the
  intent to defraud his creditors; (g) the defendant has disposed of or is about to dispose of all or part of his property

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  § 61.001. Neither Objecting Party has pled any of the foregoing statutory elements let alone carried

  its burden.

                    9.        Second, Section 105(a) of the Bankruptcy Code – which is the only

  provision cited by the Objecting Parties to justify their position – does not allow this Court to grant

  the Objecting Parties’ request. As a general matter, Section 105(a) does not create a “roving

  commission” for a court “to do equity.” See, e.g., United States v. Sutton, 786 F.2d 1305, 1308

  (5th Cir. 1986); see also New England Dairies, Inc. v. Dairy Mart Convenience Stores, Inc. (In re

  Dairy Mart Convenience Stores, Inc.), 351 F.3d 86, 92 (2nd Cir. 2003). Rather, relief under

  Section 105(a) must be tethered to some provision of the Bankruptcy Code. See, e.g., Law v.

  Siegel, 571 U.S. 415, 421 (2014) (“We have long held that ‘whatever equitable powers remain in

  the bankruptcy courts must and can only be exercised within the confines of’ the Bankruptcy

  Code.”) (citing cases); New England Dairies, 351 F.3d at 91-92 (“[S]ection 105(a) [confers] the

  power to exercise equity in carrying out the provisions of the Bankruptcy Code. . . This language

  ‘suggests that an exercise of section 105 power be tied to another Bankruptcy Code section and

  not merely to a general bankruptcy concept or objective.’”) (citations omitted) (emphasis in

  original). Here, the Committee has not cited to any provision under the Bankruptcy Code

  justifying its request besides the general powers available under Section 105(a).

                    10.       Instead, the Committee has requested that this Court cause the “[temporary]

  withholding” of distributions to Related Entity Investors in Dynamic, AROF, and RCP.

  (Committee Objection, ¶¶ 16-20.) As such, the Committee and Acis, through the Joinder, are

  asking this Court for an injunction only under Section 105(a) ordering “the Debtor to withhold and


  with the intent to defraud his creditors; (h) the defendant is about to convert all or part of his property into money for
  the purpose of placing it beyond the reach of his creditors; or (i) the defendant owes the plaintiff for property obtained
  by the defendant under false pretenses. See Tex. Civ. Prac. & Rem. Code. § 61.002. There is no factual record before
  the Court to support any of these required findings.

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  segregate the Proposed Insider Distributions.” (Id., ¶ 20.) However, because the Related Entity

  Investors in the Funds have a contractual right to their distributions from the Funds – not from the

  Debtor – any order from this Court enjoining the “Proposed Insider Distributions” would also, by

  necessity, be an order from this Court enjoining such Related Entity Investors from asserting their

  contractual rights against the Funds and enjoining the Funds from making distributions to the

  Related Entity Investors.7 Such injunction would therefore be an order enjoining third party action

  and require the Committee to satisfy the standards for a preliminary injunction. Feld v. Zale Corp.

  (in Re Zale Corp.), 62 F.3d 746, 765 (5th Cir. 1995) (citing In re Eagle-Picher Industries, Inc.,

  963 F.2d 855, 858 (6th Cir. 1992) (“When issuing a preliminary injunction pursuant to its powers

  set forth in section 105(a), a bankruptcy court must consider the traditional factors governing

  preliminary injunctions issued pursuant to Federal Rule of Civil Procedure 65.”).

                    11.       Here, however, the Objecting Parties have not followed the procedural or

  substantive requirements to obtain a pre-judgment remedy: a proper complaint providing the

  Related Parties with the opportunity to respond as well as a separate application for prejudgment

  attachment is required. Only then would the Court be in a position to evaluate whether the

  Committee can establish: (a) substantial likelihood of success on the merits; (b) substantial threat

  of irreparable injury; (c) the threatened injury outweighs the harm of the injunction; and (d) the

  injunction will not disserve the public interest. Id. The Committee has not carried its burden.

  Section 105(a) does not allow the Objecting Parties to bootstrap their objections into a prejudgment


  7
    CLOH is invested in the AROF Cayman feeder fund. The AROF Cayman feeder fund is managed by an independent
  board of Cayman-based directors. The Debtor, as a matter of Cayman law, has no ability to compel those independent
  directors to “withhold and segregate the Proposed Insider Distributions,” and while the Cayman directors may have
  some ability to treat certain investors differently than others, the Debtor has no right to direct the Cayman directors.
  Consequently, any order from this Court seeking to require the Debtor to withhold distributions made to CLOH by
  the AROF Cayman feeder fund will be an order with which the Debtor simply cannot comply. As such, any order
  enjoining payments on account of CLOH’s interest in the AROF Cayman feeder fund will need to be an order
  compelling the Cayman directors to take or not to take action; however, for such an order to be binding in the Cayman
  Islands, it must first be recognized by a Cayman court of competent jurisdiction.

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  attachment against assets that are not property of the Debtor’s estate and that contractually are

  owed to parties not currently before this Court, i.e., Mr. Okada, CLOH, and HCM Services. If the

  Objecting Parties desire such relief, they should bring a procedurally appropriate motion instead

  of seeking an ex parte injunction and prejudgment attachment.8

                    12.       In sum, it is uncontroverted that (a) the Funds are not debtors in this

  Bankruptcy Case; (b) the Funds’ assets are not property of the Debtor; (c) the Fund Documents do

  not allow the Debtor to cause the Funds to not make certain distributions that they would otherwise

  be required to make to their Related Entity Investors; and (d) there are no provisions in the Fund

  Documents – or applicable law – that would allow the Debtor to do what the Objecting Parties are

  demanding. It is also uncontroverted that the Independent Board determined that (i), after seeking

  advice from U.S. and Cayman-based fund and regulatory counsel, as the parties in control of a

  registered investment advisor, they have obligations to the Debtor’s managed funds and, by

  extension, the investors in such funds and (ii) those obligations required the Independent Board to

  file and prosecute the Motion.

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  8
    The Committee cannot argue it was unaware of the procedural deficiencies in the Committee Objection as one of the
  cases cited by the Committee – In re DeLorean Motors Co. – lays out the appropriate way to use Section 105(a). 755
  F.2.d 1223 (6th Cir. 1985). In DeLorean, the unsecured creditors committee (and later the trustee) believed certain
  assets were property of the debtor’s estate. To secure those assets, the committee filed an adversary proceeding
  seeking a declaration that the assets were estate property and could not be removed from the estate. In reviewing the
  case, the Sixth Circuit first noted that committee was not seeking an attachment. “The preliminary injunction in the
  present case is similarly not for the purpose of securing satisfaction of the judgment ultimately to be entered in the
  action. The trustee does not seek to attach. . . assets in order to satisfy a possible damage award. The relief sought is
  merely a declaration that the assets are a part of the bankruptcy estate.”). DeLorean, 755 F.3d at 1227. Because the
  moving party was not seeking attachment, but rather a preliminary injunction, the Sixth Circuit found that Rule 64 of
  the Federal Rules of Civil Procedure did not apply but that to get an injunction that the moving party had to satisfy
  Rule 65 and its traditional four part test. Id.
  Consequently, DeLorean highlights the appropriate way to use Section 105(a). Section 105(a) is to be paired with
  another section of the Bankruptcy Code (in DeLorean, Section 541), and if an injunction and attachment is sought, (a)
  an adversary proceeding should be filed, (b) the appropriate parties noticed, and (c) the requirements of Rules 64 and
  65 of the Federal Rules of Civil Procedure satisfied. The Committee, however, has failed to abide by any of the
  procedural or statutory requirements laid out in DeLorean.

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                   WHEREFORE, for the reasons set forth above and in the Motion, the Committee

  Objection and the Acis Objection should be overruled in all respects and the relief requested in the

  Motion should be granted.

   Dated: March 4, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
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                                             Ira D. Kharasch (CA Bar No. 109084)
                                             (admitted pro hac vice)
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                                             Debtor-in-Possession




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                            EXHIBIT 205




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     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 180 of 200 PageID 33733
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
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     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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                                      02/18/21 Entered
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 182 of 200 PageID 33735
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 183 of 200 PageID 33736
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 184 of 200 PageID 33737
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 185 of 200 PageID 33738
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 186 of 200 PageID 33739
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24         Page 187 of 200 PageID 33740
     Case21-03010-sgj
     Case 21-03010-sgj
          21-03005-sgjDoc  4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 188 of 200 PageID 33741
     Case21-03005-sgj
     Case  21-03010-sgjDoc
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 189 of 200 PageID 33742
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 190 of 200 PageID 33743
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 191 of 200 PageID 33744
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 192 of 200 PageID 33745
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 193 of 200 PageID 33746
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 194 of 200 PageID 33747
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
                           10-4 Filed02/17/21
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 195 of 200 PageID 33748
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24       Page 197 of 200 PageID 33750
     Case21-03005-sgj
     Case  21-03010-sgjDoc
          21-03010-sgj Doc86-2
                            4-3 Filed
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                            EXHIBIT 206




                                                                     Appx. 04182
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                     IN THE UNITED STATES BANKRUPTCY COURT
   1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
   2
                                     )   Case No. 19-34054-sgj-11
   3   In Re:                        )   Chapter 11
                                     )
   4   HIGHLAND CAPITAL              )   Dallas, Texas
       MANAGEMENT, L.P.,             )   Tuesday, February 2, 2021
   5                                 )   9:30 a.m. Docket
                 Debtor.             )
   6                                 )   CONFIRMATION HEARING [1808]
                                     )   AGREED MOTION TO ASSUME [1624]
   7                                 )
   8                       TRANSCRIPT OF PROCEEDINGS
                  BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
   9                    UNITED STATES BANKRUPTCY JUDGE.

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  25




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Case 3:21-cv-00881-X Document 177-15 Filed 01/09/24   Page 200 of 200 PageID 33753



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                                                                     Appx. 04184
